 

Case 2:11-cv-00930-CCC-MF Document 10 Filed 06/06/11 Page 1 of 2 PagelD: 169
The Law Offices of

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June 6, 2011

(Via E-File)

Hon. Esther Salas, U.S.M.J.

U.S. District Court of NJ

Martin Luther King Jr., Federal Building
50 Walnut Street

Newark, New Jersey 07102

Re: Santa Lucia v. McClain & Co., et als.
Civil Action No.: 11-cv-930

Frank Bruno, et al. v. McClain & Co., et als.
Civil Action No.: 11-cv-931

Dear Judge Salas:

This office and the law office of Hyderally & Associates jointly represent
the Plaintiffs in the above-entitled matters. We write to briefly respond to Ms.
Hatfield’s letter that was e-filed today.

Following our meeting with Ms. Hatfield on Friday, June 3, 2011, | called
her within an hour of leaving her office. During our phone conference, | advised
that | spoke with Mr. Hyderally and that we desired to go forward with the global
settlement conference scheduled for June 14, 2011. Specifically, | advised that
this was a significant case for plaintiffs; that we did not want to “re-adjourn” this
matter before Your Honor; and that we were prepared to dedicate the resources
necessary to crunch our damages this week. | advised that we wouid put as
many persons necessary to complete this task in order to avoid a second
adjournment.

| also indicated that we would not interfere with her adjournment request,

but wanted our position to be known with the Court that we preferred to proceed

with the settlement conference. As an alternative, we suggested that we proceed

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Case 2:11-cv-00930-CCC-MF Document 10 Filed 06/06/11 Page 2 of 2 PagelD: 170

with a settlement conference for plaintiff Michael Santa Lucia only, civil action
number 11-cv-930. We felt that it may be more feasible for all parties to analyze
the damages of one (1) plaintiff this week, as opposed to five (5) plaintiffs
collectively. We also advised counsel! that plaintiff Santa Lucia has a pre-booked
flight from Florida to New Jersey in order to be present for mediation.

We are prepared to proceed with the global settlement conference if Your
Honor desires, or in the alternative a settlement conference addressing plaintiff
Santa Lucia only. All of the plaintiffs have prepared for mediation and set time
aside to be present for the settlement conference.

We respectfully leave it within the Court’s discretion to decide how to
proceed with the June 14" conference. We thank the Court for its time and
attention to this matter.

Respectfully submitted,
/s/ John J. Zidziunas
JOHN J. ZIDZIUNAS

For the Firm

C: Ty Hyderally, Esq. (via e-file)
Kathryn V. Hatfield, Esq. (via e-file)
